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                               UNITED STATE DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

           LASHAWN JONES, ET AL.                            CIVIL ACTION NO. 12-859

           VERSUS                                           SECTION I, DIVISION 5

           MARLIN GUSMAN, ET AL.                            JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH



                             REPLY IN SUPPORT OF MOTION FOR STAY

       Third-Party Defendant, the City of New Orleans (the “City”), respectfully submits this

Reply in Support of its Motion for Stay (the “Motion”) to address the arguments raised in the

Oppositions filed by the United States of America and the Plaintiff Class.1         In the underlying

Motion,2 the City seeks a stay of this Court’s January 25, 2021 Order & Reasons (the “Order”)3

denying the City’s motion seeking to amend the Court’s January 25, 2019 and March 18, 2019

orders to construct the Phase III facility,4 the entry of which lifted the automatic stay entered by

operation of the Prison Litigation Reform Act (the “PLRA”).5 Because the City is likely to succeed

on the merits of its appeal and will be irreparably injured absent a stay, which will not substantially

injure the other parties to this proceeding, and because the public’s interest is best served by first

resolving the merits of the City’s appeal before this Court’s order to construct the Phase III facility

is enforced, the City respectfully submits this Court should stay its Order pending appeal.6




       1
         Rec. Docs. 1425, 1426.
       2
         Rec. Doc. 1410.
       3
         Rec. Doc. 1396.
       4
         Rec. Docs. 1221, 1227.
       5
         18 U.S. Code § 3626(b), (e).
       6
         Rec. Doc. 1399.
                                                      1

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    I.        THE CITY’S MOTION IS PROCEDURALLY PROPER

         In their Oppositions, the United States and the Plaintiff Class both contend the City’s

Motion is procedurally improper, arguing that the City’s Motion is untimely,7 that the U.S. Court

of Appeals for the Fifth Circuit does not have jurisdiction over the City’s appeal,8 and that “[a]

‘stay’ of [the Court’s] Order – in the traditional sense of the legal mechanism – can have no impact

one way or another.”9 But these positions ignore binding precedent, Federal Rule of Civil

Procedure 62(d)’s plain language, and the PLRA’s clear dictates.

         Because the City’s appeal remains pending before the Fifth Circuit, the City’s Motion for

Stay pending appeal is timely.10 Moreover, other than to simply contend the Fifth Circuit lacks

jurisdiction, neither the Plaintiff Class nor the United States cited any authority warranting the

upending of the long-standing rule that the denial of a Rule 60(b) motion is immediately

appealable.11 And, despite the Plaintiff Class’ mistaken understanding of the term “injunction,” it

is well-settled that under 28 U.S.C. § 1292(a)(1), circuit courts have jurisdiction over an order that

is injunctive in nature, even if the order does not technically take the form of an order relating to




         7
            Rec. Doc. 1425 at 2.
         8
            Rec. Doc. 1426 at 12.
          9
            Rec. Doc. 1426 at 8.
          10
              See Fed. R. Civ. P. 62(d) (stating that a district court may enter an order “suspend[ing] . . . an injunction,”
“[w]hile an appeal is pending from an interlocutory order” (emphasis added)); see also U.S. v. El-O-Pathic Pharm., 192
F.2d 62, 79–80 (9th Cir. 1951) (“Subdivision (c) of Rule 62, [now Rule 62(d),] omits reference to any specific time when
the district court may grant such an injunction, and we think that under common principles of construction, this authority
of the district courts must now be held to continue throughout the period when the appeal is pending.” (emphasis added));
11 WRIGHT, MILLER, & KANE, FEDERAL PRACTICE AND PROCEDURE § 2904 (3rd ed. 2020).
          11
              See, e.g., Kerwit Med. Prods., Inc. v. N.H. Instruments, Inc., 616 F.2d 833, 836 (5th Cir. 1980) (holding
that the district court’s denial of a Rule 60(b) motion was immediately appealable pursuant to 28 U.S.C. § 1292(a)(1),
even though no final judgment had been entered by the district court); Castille v. Pomroy, 25 F.3d 1044 (5th Cir.
1994) (stating the Fifth Circuit “unquestionably” has “jurisdiction under 28 U.S.C. § 1291 to entertain a timely appeal
from the denial of a Rule 60(b) motion.” (citing Williams v. Brown & Root, Inc., 828 F.2d 325, 328 n.5 (5th Cir.
1987))); see also Browder v. Dir., Dep’t of Corr. of Ill., 434 U.S. 257, 263 n.7 (1978); Acadian Diagnostic Labs.,
L.L.C v. Quality Toxicology, L.L.C., 965 F.3d 404, 414 (5th Cir. 2020).
                                                                  2

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an injunction.12 As a result, the Fifth Circuit has jurisdiction over the City’s appeal because the

denial of a Rule 60(b) motion and the refusal to modify an injunction are both immediately

appealable as a matter of right.13

         The City’s Motion for Stay is also proper. Rule 62(d) allows a party to move the district

court to suspend an injunction while an appeal is pending from an interlocutory order that refuses

to modify an injunction, including consent judgments, exactly what the City moves this Court to

do. Moreover, the City having moved the Court on June 29, 2020 to “modify or terminate

prospective relief in a civil action with respect to prison conditions,” the automatic stay provisions

outlined in 18 U.S. Code § 3626(e) were triggered on December 26, 2020,14 and the ordered Phase III

construction was stayed by operation of law “ending on the date the court enter[ed] [its] final order

ruling on the motion.”15 Thus, contrary to opposing counsel’s assertions, seeking a stay of the Court’s

order denying the City’s motion seeking to modify the prospective relief, which lifted the automatic

stay, is proper under both Rule 62(d) and 18 U.S. Code § 3626(e).



          12
             See Carson v. Am. Brands, Inc., 450 U.S. 79, 83–84 (1981) (exercising jurisdiction over order “injunctive
in nature”); Frazar v. Gilbert, 300 F.3d 530, 537 (5th Cir. 2002) (finding that the court had appellate jurisdiction over
the district court’s “order of enforcement,” which directed the defendants “to submit corrective action plans”
addressing portions of the consent decree that allegedly had been violated), rev’d on other grounds by 540 U.S. 431
(2004); Justin Indus. v. Choctaw Sec., L.P., 920 F.2d 262, 265 (5th Cir. 1990) (order denying summary judgment
motion was appealable because it substantially denied injunctive relief); see also Williamson v. Recovery Ltd. P’ship,
731 F.3d 608, 621 (6th Cir. 2013) (“Orders that have the practical effect of an injunction are subject to interlocutory
appeal under § 1292(a)(1) only if the order has a serious, perhaps irreparable, consequence and the order can be
effectively challenged only by means of an immediate appeal.” (internal quotation marks omitted)); Teradyne, Inc. v.
Mostek Corp., 797 F.2d 43, 47 (1st Cir. 1986) (holding that order requiring defendant to deposit funds in interest-
bearing account was appealable); HBE Leasing Co. v. Frank, 48 F.3d 623, 633 (2d Cir. 1995) (holding that order
requiring defendant to remove any liens she may have asserted on property subject to her mortgage was appealable);
Etuk v. Slattery, 936 F.2d 1433, 1440 (2d Cir. 1991) (holding that order requiring Immigration and Naturalization
Service to replace existing forms as directed by court was appealable).
          13
             See 28 U.S.C. § 1292(a)(1) (“[T]he courts of appeals shall have jurisdiction of appeals from [i]nterlocutory
orders of the district courts of the United States . . . granting, continuing, modifying, refusing or dissolving injunctions,
or refusing to dissolve or modify injunctions.”); Kerwit Med. Prods., Inc, 616 F.2d at 836 (holding that the district
court’s denial of a Rule 60(b) motion was immediately appealable pursuant to 28 U.S.C. § 1292(a)(1), even though
no final judgment had been entered by the district court).
          14
              18 U.S.C. § 3626(b), (e).
          15
             18 U.S.C. § 3626(e).
                                                                  3

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         A. The City’s Motion is Timely.

         Faced with case law directly demonstrating that a stay is warranted in this case, the United

States resorts to complaining that the City filed its Motion for Stay Pending Appeal only after

having filed its Notice of Appeal, instead of immediately following this Court’s denial of the City’s

Motion for Relief.16 The United States’ specious procedural argument serves only to underscore

the weakness of its opposition to the merits of the City’s Motion for Stay.

         Conspicuously absent from the United States’ brief is any mention of a deadline for filing

a motion for stay pending appeal.17 Federal Rule of Appellate Procedure 4(a) requires that, in a

civil case, a notice of appeal be filed within thirty days from the date of the order appealed from.

In turn, after a district court enters an appealable order, both Federal Rule of Civil Procedure 62(d)

and Federal Rule of Appellate Procedure 8(a)(1) require a party to move first in the district court

for a stay of that order “while an appeal is pending.”18 Thus, a motion for stay is premature if filed

prior to the filing of a notice of appeal.19 Correspondingly, once an appeal is filed, a motion

seeking to stay an appealed order is timely, so long as the appeal remains pending.20



         16
             Rec. Doc. 1425 at 2.
         17
             Indeed, in support of their “untimeliness” argument, the United States cites two cases concerning requests for
a stay of a patent infringement case pending the inter partes review of the patent before the United States Patent Trial
and Appeal Board, not the stay of a judgment pending the appeal of that judgment to a U.S. Court of Appeal. The United
States does not even attempt to explain how these holdings might apply to the case at bar. See Rec. Doc. 1425 at 2.
          18
             Fed. R. Civ. P 62(d) (emphasis added); Fed. R. App. Pro. 8(a)(1)(A), (C) (emphasis added).
          19
             See also Hawaii Housing Auth. v. Midkiff, 463 U.S. 1323, 1324 (1983) (“Whatever the current application
of the so-called jurisdictional shift theory to modern appellate procedure, it is well-settled that a court retains the power
to grant injunctive relief to a party to preserve the status quo during the pendency of an appeal, even to this Court.”);
Matter of Miranne, 852 F.2d 805, 806 (5th Cir. 1988) (explaining that a district court retains jurisdiction over a motion
for stay following a notice of appeal); Jackson v. Transamerica Occidental Life Ins. Co., 149 F.3d 1178, at *9 (5th
Cir. July 1, 1998) (same); Wedgewood Ltd. P’ship I v. Twp. of Liberty, Ohio, No. 04–1069, 2010 WL 5462472, at *3
(S.D. Ohio Dec. 29, 2010) (holding that “an appeal is a condition precedent for the issuance of a stay”); Lincoln v.
Case, No. 01-955, 2002 WL 442149, at *1 (M.D. La. Mar. 20, 2002) (dismissing motion for stay as premature, given
that no notice of appeal had yet been filed); see also Tricon Energy, Ltd. v. Vinmar Intern., Ltd., 10-5260, 2012 WL
527965, at *1 (S.D. Tex. Feb. 16, 2012) (“Vinmar must file a notice of appeal before this court can stay the execution
of the judgment under Rule 62(d).” (emphasis added)).
          20
             11 WRIGHT, MILLER, & KANE, FEDERAL PRACTICE AND PROCEDURE § 2904 (3rd ed. 2020);
see also El-O-Pathic Pharm., 192 F.2d at 79–80 (“Subdivision (c) of Rule 62, [now Rule 62(d),] omits reference to
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         On January 25, 2021, this Court adopted Judge North’s R&R as its own, denying the City’s

Motion for Relief.21 The City filed a timely notice of appeal just eight days later on February 2,

2021.22 Then, on February 19, 2021, “during the pendency of [the City’s] appeal,” the City moved

this Court to stay the execution of its Order, and to suspend its prior orders directing the City to

“begin the programming phase of the Phase III facility”23 “without undue delay, expense or

waste.”24 Having timely filed its notice of appeal and moved for a stay while that appeal was

pending, the City’s Motion for Stay is timely.25

         B. The Denial of the City’s Motion Seeking Modification of The Orders to Build the
            Phase III Facility Is Immediately Appealable.

         As an initial matter, the Plaintiff Class plainly misapprehends the relief the City requests.26

The City’s request is not complicated. The City’s Motion for Stay is just that – a motion moving

this Court to stay its Order denying the City’s Motion for Relief, pending the City’s appeal

thereof.27 The City’s Motion for Stay does not, as the Plaintiff Class bizarrely suggests, seek

reconsideration of the Court’s denial.28 The City having timely filed its Notice of Appeal, the

propriety of this Court’s Order is now before the Fifth Circuit.29




any specific time when the district court may grant such an injunction, and we think that under common principles of
construction, this authority of the district courts must now be held to continue throughout the period when the appeal
is pending.” (emphasis added)).
         21
            Rec. Doc. 1396.
         22
            Rec. Doc. 1399.
         23
            Rec. Doc. 1221.
         24
            Rec. Doc. 1227.
         25
            Moreover, it is unclear to the City upon what basis the United States argues the timing of the City’s Motion
for Stay can be considered a “month-long delay,” when the City sought a stay within twenty-five days of this Court’s
order denying its motion for relief, a fact the United States itself notes. Rec. Doc. 1425 at 2 (“[T]he the City’s present
Motion was not filed until twenty-five days after the Court’s denial of its Rule 60(b) motion.”).
         26
            Rec. Doc. 1426 at 9–10.
         27
            Rec. Doc. 1410-1 at 1 ([T]he City respectfully submits this Court should stay the execution of its Order,
pending the resolution of the City’s appeal thereof.”).
         28
            Rec. Doc. 1426 at 9 (“[W]hat the City really seeks is the Court’s reconsideration of the City’s Rule 60(b)
Motion.”).
         29
            Rec. Doc. 1399.
                                                                5

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         The Plaintiff Class’ remaining procedural argument depends entirely on their mistaken

understanding of the term “injunction.” But 28 U.S.C. § 1292(a)(1) authorizes appeals not only of

orders whose terms come within its express language, but also of orders that have the substantial and

practical effect of injunctive orders.30 Thus, circuit courts have jurisdiction over an order that is

injunctive in nature, even if it does not technically take the form of an order relating to an injunction,

so long as the order may have serious consequences for the appellant and would be otherwise

unreviewable on appeal.31 An order has the practical effect of an injunction for purposes of appeal

if it is directed to one or more of the parties, is coercive and equitable in nature, is enforceable by

contempt, and grants at least some of the relief sought in the litigation.32

         Although “[a]n order by a federal court that relates only to the conduct or progress of

litigation before that court ordinarily is not considered an injunction and therefore is not appealable

under § 1292(a)(1),”33 this Court’s order goes much further than simply dictating the conduct or




          30
             See, e.g., Carson, 450 U.S. at 83–84 (exercising jurisdiction over order “injunctive in nature”); Frazar,
300 F.3d at 537 (finding that the court had appellate jurisdiction over the district court’s “order of enforcement,” which
directed the defendants “to submit corrective action plans” addressing portions of the consent decree that allegedly
had been violated); Justin Indus., 920 F.2d at 265 (order denying summary judgment motion was appealable because
it substantially denied injunctive relief); see cf. EEOC v. Kerrville Bus Co., Inc., 925 F.2d 129, 131 (5th Cir. 1991)
(dismissing the appeal following practical effect test analysis).
          31
             Carson, 450 U.S. at 83–84 (exercising jurisdiction over order injunctive in nature); Williamson, 731 F.3d
at 621 (“Orders that have the practical effect of an injunction are subject to interlocutory appeal under § 1292(a)(1)
only if the order has a serious, perhaps irreparable, consequence and the order can be effectively challenged only by
means of an immediate appeal.” (internal quotation marks omitted)); Teradyne, Inc., 797 F.2d at 47 (holding that an
order requiring defendant to deposit funds in interest-bearing account was appealable); HBE Leasing Co., 48 F.3d at
633 (holding that order requiring defendant to remove any liens she may have asserted on property subject to her
mortgage was appealable); Etuk, 936 F.2d at 1440 (holding that order requiring Immigration and Naturalization
Service to replace existing forms as directed by court was appealable).
          32
             See, e.g., United States v. Samueli, 582 F.3d 988, 993 (9th Cir. 2009) (“An order has the practical effect of
an injunction if it is directed to a party, enforceable by contempt, and designed to accord some or all of the relief
sought by a complaint.”); W. Holding Co. v. AIG Ins. Co., 748 F.3d 377, 382–383 (1st Cir. 2014) (holding that
interlocutory order requiring insurer to advance defense costs to its insureds was appealable as injunctive order, even
though it was not labeled as such, because it was aimed at particular party (the insurer), was enforceable by contempt,
and provided some of the relief (costs) that insureds sought).
          33
             Gulfstream, 485 U.S. at 279 (citing Switzerland Cheese Ass’n, Inc. v. E. Horne’s Market, Inc., 385 U.S.
23, 25 (1966)).
                                                                6

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progress of the litigation. Here, the Court’s order to build a new jail “in effect grants . . . an

injunction . . . precisely as if the court had acted upon a bill of complaint in a separate suit for the

same purpose.”34 And, if enforced, the City will suffer irreparable harm. Thus, because the

Court’s affirmative order is one directed specifically to the City, “commanding . . . an action,”35

namely to build a new jail; is enforceable by a contempt order; and grants the relief sought in this

litigation, the orders constitute an injunction.

         The proper procedural vehicle through which to seek the modification of an injunction or

consent decree is Rule 60(b),36 which the City cited appropriately in its Motion for Relief.37 The

Court denied that motion.38 The City now moves the Court to suspend its orders to build the Phase

III facility, pending the outcome of the City’s appeal, pursuant to Rule 62(d), which allows a court

to “suspend, modify, restore, or grant an injunction” “[w]hile an appeal is pending from an

interlocutory order . . . that . . . refuses to dissolve or modify an injunction.” The City’s Motion is

procedurally appropriate.




         34
             Gulfstream, 485 U.S. at 280 (quoting Enelow v. N.Y. Life Ins. Co., 293 U.S. 379, 382–83 (1935)).
         35
             Injunction, BLACK’S LAW DICTIONARY (11th ed. 2019); see also 16 CHARLES ALAN WRIGHT, ET AL.,
Federal Practice & Procedure § 3922, at 65 (3d ed. 2007) (for purposes of § 1292(a)(1), an injunction is an order
“directed to a party, enforceable by contempt, and designated to accord or protect ‘some or all of the substantive relief
sought by a complaint’ in more than a temporary fashion”); 19 JAMES WM. MOORE, ET AL., Moore’s Federal Practice
§ 203.10[2] (3d ed. 2006) (same).
          36
              Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367 (1992) (“[I]t is appropriate to grant a Rule 60(b)(5)
motion when the party seeking relief from an injunction or consent decree can show ‘a significant change either in
factual conditions or in law.’” (emphasis added)); Agostini v. Felton, 521 U.S. 203, 215 (1997) (citing Rufo, 502 U.S.
at 384); see also Railway Employees v. Wright, 364 U.S. 642, 647 (1961) (“[T]he court cannot be required to disregard
significant changes in law or facts if it is satisfied that what it has been doing has been turned through changed
circumstances into an instrument of wrong.” (internal quotation marks omitted)).
          37
             See generally R. Doc. 1281-1. And in this case, the City specifically argued it was entitled to relief from
the Court’s orders based on an analysis of Rufo, 502 U.S. at 367. Id. at 4 & n.6.
          38
             Rec. Doc. 1396.
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       C. The City’s Motion for Stay Seeks a Stay of the Court’s Order Denying the City’s
          Motion for Relief, the Entry of Which Lifted the Automatic Stay Provisions
          Mandated by 18 U.S. Code § 3626.

       In addition to Rule 62(d)’s express terms, the PLRA provides an additional basis for staying

this Court’s Order. Title 18 of the U.S. Code, section 3626, subsection (b) provides, “In any civil

action with respect to prison conditions in which prospective relief is ordered, such relief shall be

terminable upon the motion of any party or intervener.” In turn, 18 U.S.C. § 3626(e) provides,

“The court shall promptly rule on any motion to modify or terminate prospective relief in a civil

action with respect to prison conditions. . . . Any motion to modify or terminate prospective relief

made under subsection (b) shall operate as a stay during the period . . . beginning on the 180th

day after such motion is filed, in the case of a motion made under any other law; and . . . ending

on the date the court enters a final order ruling on the motion.”

       The City filed its Motion for Relief on June 29, 2020, praying that the Court, “indefinitely

suspend[] the programming, design, and construction of a new Phase III jail facility.”39 Thus, on

December 26, 2020, 180 days after the City filed its motion, an automatic stay was in place as a

matter of law. On January 25, 2021, this Court adopted Judge North’s R&R as its own, denying

the City’s Motion for Relief, thereby lifting the automatic stay.40 “Given that curbing the equitable

discretion of district courts was one of the PLRA’s principal objectives,”41 a stay pending the

appeal of this Court’s order denying the City’s Motion for Relief is warranted in this case.




       39
          Rec. Doc. 1281-1 at 1.
       40
          Rec. Doc. 1396.
       41
          Miller v. French, 530 U.S. 327, 340 (2000).
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    II.       A STAY IS WARRANTED IN THIS CASE

          The City has a strong likelihood of succeeding on the merits of its appeal and will be

irreparably injured absent a stay of this Court’s orders to build the Phase III facility. Moreover,

because the high-quality mental health care inmates classified as acute and subacute are currently

receiving will be maintained during the pendency of this City’s appeal, no parties will be

substantially injured should this Court enter a stay. Finally, the public interest lies in first resolving

the merits of the City’s appeal prior to expending millions of dollars constructing, staffing, and

maintaining the Phase III facility. The arguments to the contrary offered by the United States and

the Plaintiff Class are unavailing and should be rejected.

          A. The City Has a Strong Likelihood of Success on the Merits

          The United States and the Plaintiff Class argue that, because they allege the City consented

to the construction of the Phase III facility, this Court’s orders to do so cannot be altered or amended.

But other than simply stating that an injunction once consented to cannot be altered, neither party

points to any precedent standing for such a sweeping proposition. In reality, Rule 60(b) provides a

mechanism for modifying the terms of a consent judgment when the party moving for modification

establishes that a significant change in circumstances warrants revision of the decree and that the

proposed modification is suitably tailored to the changed circumstance.42 Thus, whether the City

consented to the orders to construct the Phase III facility is immaterial to a district court’s analysis

under Rule 60(b).




         42
            Rufo, 502 U.S. at 384 (“[I]t is appropriate to grant a Rule 60(b)(5) motion when the party seeking relief
from an injunction or consent decree can show ‘a significant change either in factual conditions or in law.’”); Agostini,
521 U.S. at 215 (citing Rufo, 502 U.S. at 384); see also Wright, 364 U.S. at 647 (“[T]he court cannot be required to
disregard significant changes in law or facts if it is satisfied that what it has been doing has been turned through
changed circumstances into an instrument of wrong.” (internal quotation marks omitted)).
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        The United States complains that the City did not distinguish Plata v. Schwarzenegger in

its Motion.43 But the United States’ reliance on Plata is misplaced. Not only is Plata an

unpublished, out-of-circuit district court decision from California, it also did not comment on

whether the PLRA prevented a court from enforcing the parties’ prior agreement to build a new

facility. Rather, as the Plata Court stated, “the $250 million that is the subject of the Court’s

October 27, 2008 order will be used not for construction of prisons, but for the renovation of

health-care facilities in existing prisons and the planning for construction of new facilities.”44 The

Ninth Circuit later confirmed that the issue of whether the PLRA prevented the district court from

enforcing the parties’ prior agreement to build a new prison was not properly before it, nor was it

ripe for the Ninth Circuit’s consideration on appeal, stating:

        On appeal, the State . . . argues that the Receiver has no power to engage in planning
        for the construction of prison facilities, and that this purported exercise of power
        must be terminated. The reason, according to the State, is that the PLRA deprives
        the district court and its Receiver of the power to order prison construction. To the
        extent that this argument was presented to the district court, that court found no
        need to address it because it had authorized no construction other than renovations
        to which the State had not objected.45

        The district court’s order in Plata, which ultimately resulted in a prisoner release order and

not an order to build additional facilities, was affirmed by the U.S. Supreme Court.46 In his dissent

to the prisoner release order, Justice Scalia, citing § 3626(a)(1)(C), aptly explained, “The PLRA

is . . . best understood as an attempt to constrain the discretion of courts issuing structural

injunctions—not as a mandate for their use,” arguing that structural injunctions, “raise grave




        43
             Rec. Doc. 1425 at 6.
        44
             No. 01-1351, 2008 WL 4847080, at *7.
          45
             Plata v. Schwarzenegger, 603 F.3d 1088, 1099 (9th Cir. 2010) (ultimately holding it did not have
jurisdiction to consider the legal question, as it was not ripe for review) (emphasis added).
          46
             Brown v. Plata, 563 U.S. 493, 564 (2011).
                                                         10

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separation-of-powers concerns and veer significantly from the historical role and institutional

capability of courts. It is appropriate to construe the PLRA so as to constrain courts from entering

injunctive relief that would exceed that role and capability.”47

         In their oppositions, the United States and the Plaintiff Class primarily rely on their

misunderstanding of the procedural means by which the City seeks review of this Court’s orders

to construct the Phase III facility, making scant mention of the merits. But during the hearing on

the City’s Motion for Relief, among other evidence, the City offered substantial testimony from

multiple medical doctors and healthcare providers who testified that the sixty-five inmates with

acute and subacute mental health needs housed in the Orleans Justice Center (the “OJC”) are

presently being provided with constitutionally adequate health care,48 that the number of inmates

with acute and subacute mental health needs has declined significantly,49 and that the COVID-19

pandemic has caused an unforeseen fiscal and social impact upon the City.50 These changed

circumstances, which could not be presaged, are only augmented by the overwhelming public

safety, housing, and fundamental care issues resulting from the pandemic and further undermine

any basis for the construction of the Phase III facility, particularly when a more narrow and less

intrusive alternative that completely addresses the healthcare needs of inmates with acute and sub-

acute mental health issues is available.51 The Oppositions failed to meaningfully address these




         47
             Plata, 563 U.S. at 564 (Scalia, J., dissenting).
         48
             See, e.g., Rec. Doc. 1367, at 50:12–54:11 (testimony of Dr. Carin Kottraba); Rec. Doc. 1367, at 140:11–
144:5 (testimony of Dr. Jeffrey Rouse).
          49
             See, e.g., Rec. Doc. 1366, at 7:14–10:8 (testimony of Mr. William Snowden).
          50
             See, e.g., Rec. Doc. 1365, at 10:20–11:25 (testimony of Mr. Gilbert Montano).
          51
             Moreover, in addition to the over fifty million dollars construction of the Phase III facility is projected to
cost, if Phase III is constructed, it will require between eight to nine million dollars per year for the indefinite future.
Thus, assuming the building has a thirty-year lifespan, its operation would require the City to pay at least
$270,000,000.00 from limited and greatly reduced taxpayer funds.
                                                                 11

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facts and wholly failed to address the fact that building the Phase III facility requires approvals

mandated by the City’s Home Rule Charter, which the City has not obtained.

         Given that the City’s proposed retrofit is less intrusive, would enhance healthcare for acute

inmates in one-third of the time it would take to construct a new jail, and the retrofit alternative

does not require a zoning variance that must be evaluated by the City Planning Commission and

approved by the City Council, in light of the significant change in circumstances resulting from

years of work towards complying with the Consent Judgement, the City’s motion should have been

granted under the flexible approach Rufo requires.

          The United States and the Plaintiff Class also cannot avoid the holding in Ruiz v. Estelle,

in which the Fifth Circuit stated, “the PLRA does expressly restrict the prospective relief which

may be afforded by a consent decree to the same extent and in the same manner as it restricts the

prospective relief which may be afforded by a judgment entered pursuant to adversarial litigation

without agreement.”52 As the Ruiz Court explained, “the PLRA does expressly reflect Congress’

concern to limit judicial enforcement of obligations that arise out of the agreement of the parties

embodied in a consent decree.”53 The PLRA also authorizes the preclusion and termination of

existing prospective relief that does not comply with [the PLRA’s directive that]” “any prospective

relief [be] . . . ‘narrowly drawn, extend[] no further than necessary to correct the violation of the

Federal right, and is the least restrictive means necessary.’”54 In this case, building the Phase III




         52
             Ruiz, 161 F.3d at 824–25 (emphasis in original).
         53
             Id.
          54
             Id. at 817 (quoting 18 U.S.C. § 3626(a)(1) and § 3626(b)(2)); see also Brown, 563 U.S. at 564 (affirming
a prisoner release order) (Scalia, J., dissenting) (“The PLRA is . . . best understood as an attempt to constrain the
discretion of courts issuing structural injunctions—not as a mandate for their use. . . . [S]tructural injunctions . . . raise
grave separation-of-powers concerns and veer significantly from the historical role and institutional capability of
courts. It is appropriate to construe the PLRA so as to constrain courts from entering injunctive relief that would
exceed that role and capability.”); Plyler v. Moore, 100 F.3d 365, 369 (4th Cir. 1996) (“The PLRA also provides an
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facility undoubtedly extends further than necessary to correct the violation of the Federal right and

plainly is not the least restrictive means to address the needs of the inmates at issue here. Thus, as

a matter of law, the PLRA prevents a court from compelling the construction of a new facility,

even assuming the construction thereof was previously agreed to.55

         B. The City Will be Irreparably Injured Absent a Stay

         The United States and the Plaintiff Class next argue that, because the planning phase of the

Phase III facility is seventy-five percent complete, the City somehow will not be irreparably

injured if compelled to construct a multi-million dollar facility for which it has not received the

necessary approvals. Should the City be required to comply with this Court’s orders to continue

with the programming, design, and construction of the Phase III facility and those orders are

reversed by the Fifth Circuit, the City will be irreparably injured and unable to recoup the

considerable time, manhours, and expense necessary to comply with those orders.

         In making their arguments, the opposing parties attempt to distinguish Ruiz v. Estelle,56

stating that the issue in that case concerned the State’s obligation to provide the district court with

plans for remodeling its jail facilities. But this Court’s orders to build a new, multi-million dollar

facility go even further than the district court’s order in Ruiz. Here, this Court’s orders require the

City to construct an entire new facility, in addition to the new OJC facility already built at




avenue for states to end their obligations under consent decrees providing for greater prospective relief than that
required by federal law.”).
         55
            Moreover, although the R&R recognizes the May 18, 2017, City Council meeting at which a vote among
the City Council members resulted in the potential for a Phase III Plan to be submitted to the City Planning
Commission for consideration of a conditional use permit, there is no mention in the R&R or the Court’s adaptation
thereof that the conditional use permit was in fact never issued, nor did the Civil Planning Commission ever issue a
recommendation as to zoning for Phase III. Thus, compelling the City to construct the Phase III facility also violates
the City’s Home Rule Charter, which requires a zoning variance prior to moving forward with such construction.
         56
            Ruiz v. Estelle, 650 F.2d 555, 559 (5th Cir. 1981) (noting that, “Construction of future prison units and
modification of present units are required by the [district] court’s order”).
                                                              13

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considerable expense. The Oppositions incorrectly contend that the Fifth Circuit concluded the State

would be irreparably harmed by the district court’s order if it were not stayed simply based on time

constraints.57 But the Fifth Circuit’s conclusion in Ruiz is inescapable: “The size and managerial

organization of a state prison system would appear to be matters that are best left to a state’s

legislature and to those charged with the responsibility for running the prison system.”58 If

presenting construction and renovation plans to the district court constituted an irreparable injury in

Ruiz, the actual construction of a multi-million dollar facility, which presents the same staffing

concerns as the construction ordered in Ruiz, unquestionably presents an irreparable injury in this

case. Should the Fifth Circuit reverse this Court’s order denying the City’s Motion for Relief and in

the meantime a new facility is built instead of one of the City’s proposed, less-intrusive alternatives,

the City will be unable to recoup the time, manpower, and expense such construction entails.

       C. Other Interested Parties Will Not be Substantially Injured If a Stay Issues

       When considering whether the interested parties will be substantially injured if a stay issues,

the court’s “decision is limited to determining irreparable harm not in denying the plaintiffs’

requested relief outright but in temporarily staying the injunction pending a full appeal.”59 In this

case, the undisputed evidence demonstrates that funding for the Orleans Parish Sheriff’s Office (the

“OPSO”), including the City’s investment in medical and mental health services, is amongst the very

best in the United States for comparable jail facilities. And, the high-level of treatment inmates with

acute and subacute mental health needs currently receive at OJC will be maintained pending appeal.




       57
          Rec. Doc. 1426 at 19.
       58
          Ruiz, 650 F.2d at 574.
       59
          Tex. Democratic Party v. Abbott, 961 F.3d 389, 412 (5th Cir. 2020).
                                                           14

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         As Wellpath’s Dr. Carin Kottraba, an expert in the field of clinical psychology, testified,

Wellpath’s current treatment plan for inmates with acute and subacute mental health needs meets

the standards set forth by the National Commission on Correctional Healthcare, and OJC is

currently accredited by the National Commission on Correctional Healthcare.60 Inmates with acute

mental health needs have individualized treatment programs that are updated “at least every 30

days or sooner if clinically appropriate.”61 Wellpath also partners with Tulane University Medical

Center, which “provides 24/7 psychiatric on-call services for Wellpath and OPSO.”62 Through

this collaboration, Tulane “perform[s] suicide watch assessments, determining which patients - -

how patients are doing on suicide watch, and then providing a risk assessment of them on suicide

watch, and most importantly, determining when a patient is eligible to safely come off suicide

watch.”63 “[I]n essence, [Tulane does] all the new psychiatric evaluations, . . . all the follow-up

psychiatric appointments for medication management, if necessary; and [Tulane performs] all the

suicide watch assessments,” amounting to “close to six hundred psychiatric contacts a month.”64

         During the appeal, inmates with acute and sub-acute mental health needs will continue to

be treated at University Medical Center, as needed, as no inmate is turned away or denied

treatment, which supplements daily the top-quality treatment provided by an array of Tulane

psychiatrists and physicians. This arrangement has been in place for years and will be maintained




         60
           Rec. Doc. 1367, at 54:5–11.
         61
           Rec. Doc. 1367, at 50:12–18.
        62
           Rec. Doc. 1367, at 140:11–141:9.
        63
           Rec. Doc. 1367, at 143:13–23.
        64
           Rec. Doc. 1367, at 143:19–144:5. Indeed, the OPSO seemingly agrees that the OJC provides medical and
mental healthcare that are above the minimal constitutional standards, as made clear by the its Motion to terminate the
compliance director and the Consent Judgment. See Rec. Docs. 1274 (Motion to Terminate), 1311 (Order Granting
Motion to Terminate).
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pending appeal. Thus, maintaining the status quo pending appeal will not cause significant harm

to any party to this litigation.

           D. The Public Interest Lies in Favor of Granting a Stay

           Finally, the public’s interest falls squarely in favor of first determining whether the PLRA

renders this Court’s prior orders directing the City to build the Phase III facility unenforceable before

the City devotes unrecoverable time, funds, and resources towards its planning and construction. As

the Fifth Circuit explained in Ruiz, the public interest is best served by leaving the details of addressing

the long-term treatment of inmates with acute and subacute mental health needs to the City.65 It is

sufficient that this Court has ordered such relief.66 “If the State prevails on appeal, the public is best

served by not placing on the State the personnel and monetary burdens of implementing” the Court’s

orders directing the City to construct the multi-million dollar Phase III facility.67

    III.        CONCLUSION

           The City seeks a stay to resolve whether the district court erred in its application of Rule

60(b) to the City’s Motion for Relief, in light of the United States Supreme Court’s directive that

courts employ a “flexible approach” when addressing compliance with Consent Judgments in

Institutional Reform Litigation,68 and the PLRA’s express prohibition on ordering the construction

of new facilities. The City’s Motion for Stay is timely, procedurally sound, and warranted pursuant

to binding precedent. Accordingly, the City requests that its Motion for Stay be granted.




           65
            Ruiz, 650 F.2d at 572.
           66
            Id.
         67
            Ruiz, 650 F.2d at 569; see also id. at 572 (“Finally, we conclude that the public interest is best served by
leaving the details of reducing overcrowding in TDC to Texas prison officials. It is sufficient that the district court has
ordered the overcrowding to be eliminated.”).
         68
            See Rufo, 502 U.S. at 367; Horne, 557 U.S. at 433.
                                                                16

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                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was filed on this 6th day of April, 2021, with

the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

all participating counsel of record.




                                                       /s/ Harry Rosenberg


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